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                     EXHIBIT C
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

  CYWEE GROUP LTD.,                                   CASE NO. 2:17-cv- 0495_

         Plaintiff,

  HUAWEI TECHNOLOGIES CO.,                            JURY TRIAL DEMANDED
  LTD.; and HUAWEI DEVICE USA,
  INC.,

         Defendants.
                       DECLARATION OF NICHOLAS GANS, PH.D.

         I, Nicholas Gans, Ph.D., hereby declare as follows:

         1.      I have been asked by counsel for Plaintiff CyWee Group Ltd. (“CyWee”) to
  offer information and my opinions as to the technologies disclosed in U.S. Patent No.

  8,441,438 (the “’438 patent”) and U.S. Patent No. 8,552,978 (the “’978 Patent”).

         2.      In connection with the preparation of this Declaration, I have reviewed the

  materials listed below:

         •       The ’438 patent;

         •       The file wrapper for the ’438 patent;

         •       The ’978 patent; and

         •       The file wrapper for the ’978 patent.

         3.      All of the opinions stated in this declaration are based on my personal

  knowledge and professional judgment. If called as a witness, I am prepared to testify

  competently about them.

  I.     EXPERIENCE AND QUALIFICATIONS

         4.      I am a Clinical Associate Professor with the Department of Electrical

  Engineering at the University of Texas at Dallas.



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          5.         I received my doctorate in Systems and Entrepreneurial Engineering from the

  University of Illinois at Urbana-Champaign, with dissertation research in the fields of

  robotics, controls, and estimation. I continue to research and teach these topics in my

  capacity as a Professor, with over 100 peer reviewed publications and three patents. I have

  authored multiple papers on the topic of Inertial Measurement Units and related sensors and

  fusion algorithms.

          6.         A more complete list of my qualifications is set forth in my curriculum vitae,

  a copy of which is attached hereto as Exhibit A.

          7.         I am being compensated for work in this matter. My compensation in no way

  depends on the outcome of this litigation, nor do I have a personal interest in the outcome of

  this litigation.

  II.     NATURE OF THE DISCLOSED TECHNOLOGIES

          8.         The ’438 patent and ’978 patent disclose devices and methods for tracking the

  motion of a device in 3D space and compensating for accumulated errors. That is, at a high

  level, the patented inventions teach how to determine a device’s current orientation based on

  motion data detected by its motion sensors, such as an accelerometer, gyroscope, and

  magnetometer.

          9.         There are different types of motion sensors, including accelerometers,

  gyroscopes, and magnetometers. Accelerometers measure accelerations. For example,

  airbags use accelerometers, such that the airbag is triggered based on sudden deceleration.

  Accelerometers can also measure forces due to gravity. Gyroscopes measure rotation rates or

  angular velocities. Magnetometers measure magnetism, including the strength of a magnetic

  field along a particular direction. Each type of motion sensor is subject to inaccuracies. For

  example, a gyroscope sensor has a small, added offset or bias. This bias will accumulate over

  time and lead to large drift error. Similarly, magnetometers are subject to interference from

  natural and manmade sources (e.g. power electronics). Additionally, errors can accumulate

  over time. These sensors typically take measurements along a single direction. To accurately

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  measure motions along an arbitrary axis, three like sensors are grouped together and aligned

  at right angles. Such a sensor set is generally referred to as a 3-axis sensor.

         10.     To incorporate the data from multiple sensors and compensate for the errors

  described above, the ’438 patent and ’978 patent each disclose a sensor fusion technology.

  Specifically, the ’438 patent discloses an enhanced sensor fusion technology and application

  for calculating orientation (including tilting angles along all three spatial axes) by using

  measurements from both a 3-axis accelerometer and a 3-axis gyroscope; furthermore, it can

  correct or eliminate errors associated with the motion sensors. This technology is especially

  suited for accurately representing a mobile device’s orientation in 3D space on a 2D display

  screen by mapping the yaw, pitch, and roll angles relating to movement along the three

  spatial axes to a 2D display reference frame. Simply put, the ’438 patent discloses an

  improved system and method to capture motion of the device and for eliminating or

  correcting errors based on movements and rotations of the device.

         11.     Likewise, the ’978 patent discloses a similar enhanced sensor fusion

  technology for calculating orientation. Unlike the ’438 patent, which discloses and claims

  using two motion sensors—an accelerometer and gyroscope—the ’978 patent discloses and

  claims using a third sensor—a magnetometer.

         12.     Orientation information returned by the claimed inventions of the ’438 and

  ’978 patents has many uses, particularly for mobile cellular devices, such as navigation,

  gaming, and augmented/virtual reality applications. Navigation applications can use

  orientation information to determine the heading of the phone, indicate what direction the

  user is facing, and automatically orient the map to align with the cardinal directions.

  Increasing numbers of games and other applications use the motion of the phone to input

  commands, such as tilting the mobile device like a steering wheel. Augmented and virtual

  reality applications rely on accurate estimation of the device orientation in order to render

  graphics and images at the proper locations on the screen.



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  III.   OPINION REGARDING ADVANTAGES OVER PRIOR ART

         13.     In the past, motion sensors had limited applicability to handheld pointing

  devices due to a variety of technological hurdles. For example, different types of acceleration

  (e.g., linear, centrifugal, gravitational) could not be readily distinguished from one another,

  and rapid, dynamic, and unexpected movements caused significant errors and inaccuracies.

  These difficulties were compounded by the miniaturization of the sensors necessary to

  incorporate them in handheld devices. With the development of micro-electromechanical

  systems, or “MEMS,” miniaturized motion sensors could be manufactured and incorporated

  on a semiconductor chip, but such MEMS sensors had significant limitations.

         14.     For example, it is impossible for MEMS accelerometers to distinguish

  different types of acceleration (e.g., linear, centrifugal, gravitational). When a MEMS

  accelerometer is used to estimate orientation, it must measure force along the direction of

  gravity (i.e., down), but that gravitational measurement can be “interfused” with other

  accelerations and forces (e.g., vibration or movement by the person holding the device).

  Thus, non-gravitational accelerations and forces must be estimated and subtracted from the

  MEMS accelerometer measurement to yield an accurate result. A MEMS gyroscope is prone

  to drift, which will accumulate increasing errors over time if not corrected by another sensor

  or recalibrated. A MEMS magnetometer is highly sensitive to not only the earth’s magnetic

  fields, but other sources of magnetism (e.g., power lines and transformers) and can thereby

  suffer inaccuracies from environmental sources of interference that vary both in existence

  and intensity from location to location.

         15.     Additionally, orientation cannot be accurately calculated using only one type

  of MEMS sensor. For example, if only a 3-axis MEMS accelerometer is used to measure

  orientation, pitch and yaw can be measured, but not roll. If only a MEMS gyroscope is used

  to measure angular velocity, only relative changes in orientation can be measured, not

  absolute orientation.



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            16.   The ’438 patent and ’978 patent technologies overcome technological hurdles

  such as those discussed above in a unique and novel way by incorporating measurements

  from multiple sensors for increased accuracy and algorithms to compensate for accumulated

  errors. The ’438 patent discloses a system and method for interactively and iteratively fusing

  angular velocity measurements in the x, y, and z directions and axial acceleration

  measurements in the x, y, and z directions such that the measurements complement each

  other according to a specific algorithm. The limitations of the specific measurements and

  accumulated errors therein are thereby overcome and eliminated. The ’978 patent builds

  upon the ’438 patent and further incorporates magnetism measurements in the x, y, and z

  directions to further compliment the accuracy.

            17.   Without orientation information, mobile device apps would be limited to very

  static operation. This was the scenario with initial smart phones and other mobile devices.

  Navigation aids could render a map and indicate the location of the device using GPS.

  However, these maps would orient with North on the map pointing to the top of the screen.

  The user could rotate the map using touch commands, but the map would not rotate

  automatically as the user turned. Nor could the device indicate what direction the device was

  facing.

            18.   Many games use motion of the device to control the game. A common control

  scheme, especially for driving and piloting games, is to have the user rotate the phone or

  device like a steering wheel to indicate the direction the vehicle should move. Some puzzle

  games also use motions to cause elements of the game to move. As discussed previously,

  accelerometers measure acceleration, which is a very noisy signal. Acceleration is the

  derivative of velocity, which is the derivative of position. Small magnitude noise can have

  large derivatives, which means that small levels of noise from vibration or electrical

  fluctuations will be magnified at the acceleration level. Even a stationary device will have

  notable noise measured by an accelerometer. A moving device will only amplify this noise.

  Since accelerometers measure linear and centripetal accelerations as well as the acceleration

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  of gravity, orientation estimates on a moving device will not be accurate. In Figure 11, we

  conducted an experiment where an accelerometer was placed on a moving pendulum with a

  very accurate angle measurement from an optical encoder. When the pendulum is rotated

  slowly, the accelerometer is fairly accurate, but during moderate or fast motion it shows

  significant errors.

                                            2
                                                                                       Acceleration
                                      1.5                                              Encoder
                                            1
                          Angle (radians)




                                      0.5

                                            0

                                 -0.5

                                            -1

                                 -1.5

                                            -2
                                              0   5   10     15        20    25   30         35
                                                                  Time (s)


                                                           Figure 1

          19.     If only an accelerometer is used, a coarse estimate of the device orientation

  can be obtained by averaging or numerically filtering the results. Essentially, the device can

  determine if it is tilted left or right, up or down, but the exact angle cannot be estimated

  accurately while in motion. This is suitable for games to move a character or steer a vehicle

  in a particular direction, but generally cannot utilize the magnitude of tilt to move at
  corresponding faster or slower speeds.

          20.     Without orientation sensors, games could be controlled using traditional

  “joystick” type inputs. For smart phones with touch screens, commands are given by having

  the user touch specific parts of the screen.

          21.     Augmented reality (AR) and virtual reality (VR) are new and growing classes

  of applications for smart phones and mobile devices. In AR, the device camera provides live


  1
   T. R. Bennett, R. Jafari and N. Gans, "Motion Based Acceleration Correction for Improved
  Sensor Orientation Estimates," 2014 11th International Conference on Wearable and
  Implantable Body Sensor Networks, Zurich, 2014, pp. 109-114.

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  video feed to the screen, and the application overlays generated graphics onto the screen at

  specific locations. AR navigation apps can draw signs or labels to indicate what specific

  places or objects are, or can render arrows or other indicators. AR games and teaching

  applications can label objects or draw characters or items such that they appear as if they are

  in the real world seen in the video. Virtual reality is similar but does not use the camera,

  rather it completely renders an artificial 3D environment on the screen. VR most often

  requires a head set such that the user only sees the screen. Mobile devices and smart phones

  used for VR generally split the screen and display to two side-by-side images of the rendered

  environment that are slightly offset to simulate a left and right eye. The device then sits in a

  headset with lenses such that the user has each eye see only one of the split-screen images

  and has a sense of stereo (3D) vision.

         22.     Without orientation sensing, AR and VR applications cannot work. The

  system will have no ability to understand the orientation of the device and know where to

  draw objects and/or the scene. The rough orientation estimate provided by an accelerometer

  (ideally with a magnetometer) will not be sufficient to track during typical head motions. It

  has been demonstrated the VR applications that use an accelerometer often cause motion

  sickness, as the rendered images do track with the head motions. An AR application with the

  use of a gyroscope and fusion algorithm will not render objects at the correct locations, and

  may obscure the view rather than provide helpful information.

         23.     There are ways to estimate orientation other than the approaches presented in

  the ’438 patent or ’978 patent, which involve algorithms that filter and fuse measurements

  from inertial and magnetic sensors. Most such methods are based on cameras and computer

  vision algorithms. However, the limitations of these methods render them unusable for

  mobile devices. For example, there are a variety of motion capture systems that use cameras

  arrayed around an environment. Markers (e.g. reflective balls) can be placed on objects, and

  the cameras can locate the markers, often to sub-mm accuracy. If an object has three or more

  markers on it, the orientation of the object can be determined with sub-degree accuracy. This

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  method is very accurate, but quite expensive (often about $100,000). The cameras are fixed

  in place, and the estimation can only work within a small space (a box of dimensions on the

  order of tens of meters). Clearly, this is not suitable for the vast majority of mobile device

  users or applications. Some high-end VR systems use such an approach, but this is not

  feasible for general consumers.

           24.    A camera on a mobile device, such as a smart phone, can be used to estimate

  orientation of the phone. One class of approaches to this problem uses special patterns or

  markers in the environment. These often have the appearance of a QR code or 2D UPC.

  Taking a picture of the pattern, computer vision algorithms can determine the position and

  orientation of the camera with respect to the marker. AR applications have placed the

  patterns on specific objects or consumer products so the device can render images and

  graphics with respect to the pattern. AR games have included patterned mats that are placed

  on a table or other flat surface, and the device renders characters and objects as if they were

  on the surface. An example of a game using different patterned mats is seen in Figure 22.




  2
      https://pokemondb.net/spinoff/pokedex-3d

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                                              Figure 2

            25.     Multiple unique patterns can be placed around an environment; so long as one

   is always in view, the camera can maintain an estimate of the orientation and position. In this

   way, it can be used for navigation. An example is seen in Figure 33. The necessity of placing

   patterns would make this approach useless for a majority of applications, particularly

   outdoors. The camera would also need to remain on at all times, which would cause severe
   battery drain.




   3
       This is an unpublished image from Dr. Gans’ research laboratory.

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                                               Figure 3

          26. Orientation of the camera can also be estimated over an indefinite amount of

   time using vision algorithms known as visual odometry. In visual odometry, changes in the

   image over time are used to estimate the camera velocity. This velocity can be integrated

   over time to estimate the change in orientation. While these methods are well understood,

   they can only track change in relative orientation, not give absolute orientation. They also

   require the camera to be on at all times, which will greatly reduce battery life.”


   Dated: June _29__, 2017                                ______________________________
                                                          Nicholas Gans, Ph.D.




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                     EXHIBIT A
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                                     Nicholas R. Gans
                                      Curriculum Vitae
    ngans@utdallas.edu, nrgans@gmail.com                     Phone: (972) 883-6755
    Department of Electrical Engineering, MS: EC33           Fax: (972) 883-2710
    The University of Texas at Dallas
    800 W. Campbell Rd.
    Richardson, TX 75080, USA
    http://www.utdallas.edu/~ngans

   CURRENT POSITION
    • Assistant Professor – Department of Electrical Engineering,
      University of Texas at Dallas, Aug. 2009 – present

   EDUCATION
    • Ph.D. Systems and Entrepreneurial Engineering
      University of Illinois Urbana Champaign - December 2005
      Dissertation: Hybrid Switched System Visual Servo Control
      Advisor: Seth Hutchinson
    • M.S. Electrical and Computer Engineering
      University of Illinois Urbana Champaign - May 2002
      Thesis: Performance Tests of Partitioned Approaches To Visual Servo Control
      Advisor: Seth Hutchinson
    • B.S., Cum Laude, Electrical Engineering and Applied Physics, Minor in Philosophy
      Case Western Reserve University - May 1999

   RESEARCH INTERESTS
    • Vision-Based Control and State Estimation
    • Mobile Robot Control
    • Multi-Agent/Distributed Control and Estimation
    • Self-Optimizing Systems
    • Nonlinear Control
    • Hybrid Switched-System Control
    • Computer Vision
    • Human/Machine Interaction
    • Engineering Ethics Education

   RESEARCH EXPERIENCE
    • Postdoctoral Associate – National Research Council/Air Force Research Laboratory
      Eglin Air Force Base, Sep. 2008 – July 2009
      Directed by David Jeffcoat
    • Postdoctoral Researcher - Nonlinear Controls and Robotics Lab
      University of Florida, Jan. 2006 – Aug. 2008
      Directed by Dr. Warren Dixon
    • Graduate Research Assistant - Robot Motion Planning and Control Lab
      University of Illinois Urbana Champaign, Jan. 2002 - Dec. 2005
      Directed by Dr. Seth Hutchinson


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   CURRENT GRANTS
     PI, “Distributed Control and Vision-Based Estimation for UAS Autonomy,” Air Force Research
      Laboratory Munitions Directorate, 5/01/2017 – 4/31/2019, $75,000
     PI, “Engineering Projects in Community Service,“ UT Dallas Center for Teaching and Learning
      Instructional Improvement Grant, 9/1/2016-8/31/2017, $5000
     PI, “Vision-Based Control of Quadrotor UAVs”, Kasling Aircraft, 9/1/2016-12/1/2016, $8,098
     PI, “GOALI: Adaptive Control of Inkjet Printing on 3D Curved Surfaces”, National Science
      Foundation, 5/1/2016 – 4/30/2019, $294,452
     PI, “Vision-Based Surface Shape & Condition Estimation”, Texas Instruments, 12/1/15 -
       11/30/17, $70,000
     PI, “ICC for Olalekan Ogunmolu” (Soft for RadioSurgery), UT Southwestern Medical Center,
      9/1/2014 – 5/31/2016, $13,320
     Co-PI, “Engineering Ethics as an Expert Guided and Socially Situated Activity,” NSF,
      9/1/2013-8/31/2017, $299,967

   PREVIOUS GRANTS

    PI, “Smart City Transportation System: Real-Time Multi-Objective Optimization of
     Autonomous Multi-Agent Controllers in an Orchestrated Resource Environment for Adaptive
     and Responsive Traffic Management,” Texas Research Alliance, 10/1/2015-6/1/2016, $40,000
    PI, “Human Machine Interface for Including Out-of Sequence Information in UAV Target
     Search,” Air Force Research Laboratory, 9/23/2013 – 5/23/2016, $159,998
    Co-PI, “Cooperative Robot Manipulation”, Daegu Gyeongbuk Institute of Science And
     Technology, 3/1/2013 12/31/2015, $272,961
    PI, “3D Interactive Camera/Projector Display Unit for Human/Robot Interaction”, Texas
     Instruments, 1/1/13 - 12/28/15, $105,000
    PI, “Development of Algorithms and an Instructional Lab for Actin Robot Control Software
     and Cyton Robot Arm ,” Energid Technologies Corporation, 1/15/13 – 6-15-13, $23,556
    Co-PI, “Development of an Adaptive Radar Laboratory,” Mustang Technology Group, $35,000
    PI, “System Characterizations of the Scanning Tunneling Microscope”, Zyvex Corporation,
     5/30/2011 - 8/30/2011, $3,084
    PI, “Super-resolution of Target Details for Improved Target State Estimation and
     Classification,” University of Texas Catalyst Grant, June 2010-August 2011, $40,000
    PI, “Hardware in the Loop Simulation for Vision-Based Control of Autonomous Vehicles,” Air
     Force Research Lab grant FA8651-10-1-003, January 2010-September 2010, $10,000

   TEACHING EXPERIENCE
    •Course Instructor University of Texas at Dallas
       o Engineering Projects in Community Service – Spring 2016, Fall 2016
         Linear Systems and Signals (EECs 6331) – Spring 2010, Spring 2012, Spring 2013, Spring
         2014, Spring 2015, Spring 2016
       o Introduction to Robotics (EEGR 5V80, ENGR 5375) – Spring 2011, Fall 2013, Fall 2014,
         Fall 2015, Fall 2015



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       o Senior Design 2 (EE 4389) – Spring 2012, Spring 2013, Spring 2014, Spring 2015, Spring
         2016
       o Vision-Based Estimation and Control (EESC 7V85 ) – Fall 2010, Fall 2012
       o Electronic Circuits Laboratory (EE 3111) – Summer 2011, Summer 2012
       o Systems and Controls (EE 4310) – Fall 2011

    • One Day Workshop Recent Advances in Extremum Seeking Control and its Applications
      19th IFAC World Congress, Capetown, South Africa, Sep. 2014
    • One Day Workshop Vision-Based Estimation and Control
      University of Johannesburg, Johannesburg, South Africa, Nov. 2009

    • Short Course - Vision-Based Control for Autonomous Vehicles
      NASA Johnson Space Center, Houston, TX, Aug. 2012
      AIAA Guidance, Navigation and Control Conference, Chicago, IL, Aug. 2009
      AIAA Guidance, Navigation and Control Conference, Hilton Head, SC, Aug. 2007
         A two day short course offered through AIAA. I taught sections on cameras and imaging,
         pose estimation through epipolar geometry, visual servoing, chained pose estimation, and
         hardware in the loop simulation.

   STUDENT SUPERVISION
    Doctoral advisement/direction:
    • Jinglin Shen, PhD awarded August 2013, “Multi-View Systems for Robot-Human Interaction
      and Object Grasping”
    • Yinghua Zhang, PhD awarded May 2014, “Improving Global Properties of Real-Time
      Optimization With Applications in Robotic Visual Search”
    • Jingfu Jin, PhD awarded December 2015, “Unified Formation Control, Heading Consensus
      and Obstacle Avoidance for Heterogeneous Mobile Robots with Nonholonomic Constraints”
    • J.-Pablo Ramirez, PhD awarded May 2016, “Mobile Sensor Guidance for Optimal
      Information Acquisition Under Out-Of-Sequence and Soft Measurements”
    • Terrell Bennet, PhD awarded August 2016, “Algorithms for Enabling Wearable Sensors in
      the Internet of Things”

    Masters advisement/direction:
    • Keveh Fathian, MS awarded December 2012, “Virtual Thermal Sensing and Control of Heat
      Distribution Using State Estimation”
    • David Tick, MS awarded May 2011, “Fusion of Discrete and Continuous Epipolar Geometry
      With Wheel and IMU Odometry for Localization of Mobile Robots”
    • Wen Yu, MS awarded August 2011, “Interactive Camera/Projector Display Unit Using Image
      Homography”

   AWARDS
    •Selected as one of 2014’s IEEE Transactions on Robotics Outstanding Reviewers
    •Nominated for the Provost's Award for Faculty Excellence in Undergraduate Research
      Mentoring, The University of Texas at Dallas, 2014




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    •Best Paper of the Session, K. Fathian, J. Jin and N. Gans, “A New Approach for Solving the
      Five-Point Relative Pose Problem for Vision-Based estimation and Control,” Proc. American
      Control Conference 2014
    •Best doctoral colloquium award (work in progress): Quality Enhancement Framework for
      Wearable Computers - Terrell R. Bennett, (my PhD student), 2014 Proc. Body Sensor Network
      Conference
    •Best Paper of the Session, T. Bennett, R. Jafari, and N. Gans, “An Extended Kalman Filter to
      Estimate Human Gait Parameters and Walking Distance,” 2013 Proc. American Controls
      Conference
    •Best Student Paper, D. Q. Tick, J. Shen, and N.R. Gans, "Fusion of Discrete and Continuous
      Epipolar Geometry for Visual Odometry and Localization," 2010 IEEE International
      Workshop on Robotic and Sensors Environments
    • National Research Council/US Air Force Office of Scientific Research Associateship
    •Best Paper of the Session, K. Kaiser, N. Gans and W. E. Dixon, “Localization and Control of
      an Aerial Vehicle through Chained, Vision-Based Pose Reconstruction,” 2007 American
      Control Conference


   PROFESSIONAL ACTIVITIES
    Memberships
     • IEEE Senior Member
     • IEEE Robotics and Automation Society
     • IEEE Control Systems Society
     • AIAA
     • ASME

    Conference Organizing Committees
     • Local Arrangements Chair - IEEE Conference on Automation Science and Engineering
        (CASE) 2016
     • Exhibitions Chair - IEEE Conference on Automation Science and Engineering (CASE) 2016
     • Exhibitions CoChair - IEEE Int’l Conf. on Intelligent Robots and Systems (IROS) 2014

    International Program Committee Member
     • IEEE Int’l Conf. on Intelligent Robots and Systems (IROS): 2006
     • IEEE Int’l Conf. on Intelligent Robots and Systems (IROS), Associate Editor: 2007-2014
     • IEEE/IFAC Int’l Conf. on Inform. in Control, Autom. & Robotics (ICINCO): 2008-2014
     • American Controls Conference (ACC) 2009-2014

    Workshop/Invited Session Organizer/Lecturer
    • 6o Taller de Robótica y Planificación de Movimientos, Plenary Speaker, Decentralized
      Formation Control and Obstacle Avoidance for Mobile Robots, Centro de Investigación en
      Matemáticas, Guanajuato, Mexico, April. 2016
    • 19th IFAC World Congress, Organizer and Lecturer at One Day Workshop, Recent Advances
      in Extremum Seeking Control and its Applications, Capetown, South Africa, Sep. 2014
     • University of Johannesburg, Organizer and Lecturer at One Day Workshop, Vision-Based
      Estimation and Control, Johannesburg, South Africa, Nov. 2009



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     • AIAA Guidance, Navigation and Control Conference (GNC), Organizer and Lecturer at Two
      Day Workshop, Vision-Based Control for Autonomous Vehicles, Chicago, IL, Aug. 2009
     •International Conference on Pattern Recognition (ICPR), Presenter at One Day Workshop,
      Visual Observation and Analysis of Animal and Insect Behavior, Tampa, FL, Dec. 2008
     • IEEE International Symposium on Intelligent Control (ISIC), Invited Session Organizer and
      Lecturer: Current Topics Vision-Based Control, San Antonio, TX, Sep. 2008
     • AIAA Guidance, Navigation and Control Conference (GNC), Organizer and Lecturer at Two
      Day Workshop, Vision-Based Control for Autonomous Vehicles, Hilton Head, SC, Aug. 2007

    Review Panels
     • National Science Foundation
     • NASA

    Publication Reviewer
     • IEEE Transactions on Control (TAC)
     • IEEE Transactions on Robotics (TRO)
     • IEEE Transactions on Systems, Man and Cybernetics (TSMC)
     • IEEE Transactions on Controls System Technology (TCST)
     • ASME Journal of Dynamic Systems, Measurement and Control
     • International Journal of Computer Vision (IJCV)
     • International Journal of Robotics Research (IJRR)
     • Journal of Intelligent and Robotic Systems
     • European Journal of Control (EJC)
     • IEEE/RSJ International Conference on Intelligent Robots and Systems (IROS)
     • IEEE Conference on Robotics and Automation (ICRA)
     • IEEE Conference on Decision and Control (CDC)
     • American Controls Conference (ACC)
     • ASME Dynamic Systems and Control Conference (DSCC)
     • IEEE Conference on Control, Automation, Robotics and Vision (ICARV)
     • IEEE International Symposium on Robot and Human Interactive Communication (RO-MAN)
     • International Conference on Intelligent Autonomous Systems (IAS)
     • IEEE Potentials

   INVITED LECTURES

     •“Novel Algorithms for Estimating Camera Pose and Target Structure” – Lecture at Robotics
      Graduate Student Seminars, University of Illinois at Urbana Champaign, October 21, 2016
     •“Novel Algorithms for Estimating Camera Pose and Target Structure” – Lecture at Computer
      Science and Engineering Graduate Student Seminars, Texas A&M University, September 12,
      2016
     •“Decentralized Formation Control and Obstacle Avoidance for Mobile Robots” – Plenary Talk,
     The 6th Robotics Workshop and Planning Movements, El Centro de Investigación en
      Matemáticas, Guanajuato, Mexico, April 29, 2016
     •“Current Problems in Robot Vision and Control” – Lecture at Math Department Colloquium,
      Southern Methodist University, October 23, 2015




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     • “Real-Time Optimization with Applications in Visual Search” – Lecture at the Nonlinear and
      Dynamical Systems Symposium, University of Texas at Dallas, September 25, 2015
     • “Real-Time Optimization with Applications in Visual Search” – Lecture at the Annual
      Meeting of the AFRL Mathematical Modeling and Optimization Institute, Eglin AFB
      July 29, 2014
     • “Real-Time Optimization with Applications in Visual Search” – Lecture at Texas Systems
      Day, Texas A&M University, March 28, 2014
     • “Real-Time Optimization for Visual Search” – Invited Lecture at Texas A&M Computer
      Science Graduate Seminar, October 22, 2012
     • “Vision-based Control Beyond Position and Velocity Regulation” – Invited Lecture at the
      University of Texas at Arlington Electrical Engineering Graduate Seminar, February 3, 2012
     • “Vision-Based Control Beyond Position and Velocity Regulation” Keynote Address, 22nd
      Annual International Symposium of the Pattern Recognition Association of South Africa,
      Vanderbijlpark, South Africa (November 2011)
     • “Fusion of Vision and Inertial Measurement Units for Mobile Navigation” Dallas Chapter
      IEEE Signal Processing Society, (October 2010)
     • “Balancing Mission Requirement for Networked Autonomous Aircrafts Performing Video
      Reconnaissance,” Department of Electrical Engineering, University of Texas at Dallas (April,
      2009)
     • “Balancing Mission Requirement for Networked Autonomous Aircrafts Performing Video
      Reconnaissance,” Department of Mechanical Engineering, Worcester Polytechnic Institute
      (March, 2009)
     • “Balancing Mission Requirement for Networked Autonomous Aircrafts Performing Video
      Reconnaissance,” Department of Mechanical Engineering and Material Science, Duke
      University (January, 2009)
     • “Underdetermined, Vision-Based Control of Mechanical Systems”, Sensors 2008: Theory,
      Algorithms, and Applications, University of Florida Research Engineering Education Facility
      (REEF) (April, 2008).
     • “Underdetermined, Vision-Based Control of Mechanical Systems,” Department of Electrical
      and Computer Engineering, University of Denver (April, 2008)
     • “Vision-Based Control of Mechanical Systems,” Department of Mechanical Engineering,
      Texas A&M University (February, 2008)
     • “Simultaneous Stability of Image and Pose Error in Visual Servo Control”, Virginia Tech
      University (November, 2007)

   PATENTS
     1. W. Dixon, N. Gans, S. Gupta, Passive Single Camera Imaging System for Determining
        Motor Vehicle Speed, US Patent Number US 8401240 B2, Awarded March 19, 2013
     2. W. Dixon, N. Gans, M. Kaiser, Image-Based System and Methods for Vehicle Guidance
        and Navigation, US Patent Number US 8,320,616 B2, Awarded November 27, 2012
     3. N. Gans, W. Dixon Patent Cooperative Treaty No. PCT/US09/52803, Systems and Methods
        for Maintaining Multiple Objects Within a Camera Field-of-View, Publication number: US
        2011/0128387 A1, filed June 2, 2011 – Received Notice of Allowance November 2016

   PUBLICATIONS




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     Book Chapters

     1. S. Mehta, G. Hu, N. Gans, and W. E. Dixon, “A Daisy-Chaining Visual Servoing Approach
        with Applications in Tracking, Localization, and Mapping,” in Robot Localization and Map
        Building, Chapter 20, pp. 383-408, Edited by A. Lazinica, In-Tech, March 2010.
     2. N. Gans, G. Hu and W. E. Dixon, “Image-Based State Estimation” in Autonomous
        Robotics, Complexity and Nonlinearity, in Encyclopedia of Complexity and Systems
        Science, Springer, pp. 42-63, Vol. 1, 2009
     3. G. Hu, N. Gans and W. E. Dixon, “Adaptive Visual Servo Control” in Autonomous
        Robotics, Complexity and Nonlinearity, in Encyclopedia of Complexity and Systems
        Science, Springer, p. 4751-4776, Vol. 5, 2009
     4. P. I. Corke, S. A. Hutchinson and N. R. Gans, “Partitioned Image-Based Visual Servo
        Control: Some New Results,” in Sensor Based Intelligent Robots, Springer Lecture Notes
        in Computer Science, G. D. Hager, H. I. Christensen, H. Bunke, R. Klein Eds., Springer,
        2002, pp. 122-140

     Articles

     5. T.R. Bennett, N. Gans, and J.R Jafari, “Data-Driven Synchronization for Internet-of-
         Things Systems,” ACM Transactions on Embedded Computing Systems, vol. 16, no. 3, p.
         69.
     6. J. Jin, Y. Kim and S. Wee, D. Lee and N. Gans, “A Stable Switched-System Approach to
         Collision-Free Wheeled Mobile Robot Navigation,” Journal of Intelligent & Robotic
         Systems, vol. 86, no. pp. 599-616, May.
     7. E. A, Lee, M. Grohman, N. R. Gans, M. Tacca, & M. J. Brown, “The Roles of Implicit
         Understanding of Engineering Ethics in Student Teams’ Discussion,” Science and
         Engineering Ethics, pp. 1-20, Dec. 2016.
     8. Y. Zhang, O. Makarenkov, N. Gans, “Extremum Seeking Control of a Nonholonomic
         System with Sensor Constraints,” Automatica, vol. 70, pp. 86-93, Aug. 2016
     9. Y. Zhang, M. Rotea and N. Gans, “Simplex Guided Extremum Seeking Control with
         Convergence Detection to Improve Global Performance,” IEEE Transaction on Control
         System Technology, vol. 24, no. 4, pp. 1266-1278, July 2016.
     10. J-P. Ramirez-Paredes, D. Lary and N. Gans, “Low-Altitude Terrestrial Spectroscopy from
         a Pushbroom Sensor,” Journal of Field Robotics, vol. 33, no. 6, Sept. 2016 pp. 837–852.
     11. J. P. Ramirez-Paredes, E. A. Doucette, J. W. Curtis and N. R. Gans, "Optimal Placement
         for a Limited-Support Binary Sensor," in IEEE Robotics and Automation Letters, vol. 1,
         no. 1, pp. 439-446, Jan. 2016.
     12. J. Jin, and N. Gans, “Parameter Identification for Industrial Robots with a Fast and Robust
         Trajectory Design Approach,” Robotics and Computer Integrated Manufacturing, vol 31,
         pp. 21-29, 2015,
     13. W. MacKunis, N. Gans, A. Parikh, and W. E. Dixon, “Unified Tracking and Regulation
         Visual Servo Control for Wheeled Mobile Robots,” Asian Journal of Control, vol. 16,
         no.3, pp. 669- 678, 2014
     14. Y. Zhang, J. Shen, and N. Gans, “Real-Time Optimization for Eye-in-Hand Visual
         Search,” IEEE Transactions on Robotics, vol. 30, no. 2, pp. 325 - 339, April 2014




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     15. D. Tick, A. C. Satici, J. Shen, and N. R. Gans, “Tracking Control of Mobile Robots
         Localized via Chained Fusion of Discrete and Continuous Epipolar Geometry, IMU and
         Odometry”, IEEE Transactions on Systems Man and Cybernetics Part B, Volume 43,
         Number 4, 1237 – 1250, August 2013
     16. N. R. Gans, G. Hu, J. Shen, Y. Zhang, and W. E. Dixon, “Adaptive Visual Servo Control to
         Simultaneously Stabilize Image and Pose Error,” Mechatronics, Volume 22, Number 4, pp.
         410–422, June 2012
     17. N. R. Gans, G. Hu, K. Nagaragan, W. E. Dixon, “Keeping Multiple Moving Targets in the
         Field of View of a Mobile Camera,” IEEE Transactions on Robotics, Volume 27, Number
         4, pp. pp. 822 – 828, 2011
     18. G. López-Nicolás, N. R. Gans, S. Bhattacharya, C. Sagüés, J.J. Guerrero and S. Hutchinson,
         “An Optimal Homography-Based Control Scheme for Mobile Robots with Nonholonomic
         and Field-of-View Constraints,” IEEE Transactions on Systems, Man and Cybernetics, Part
         B, Volume 40, Number 4, pp. 1115 - 1127, 2010
     19. M. K. Kaiser, N. Gans and W. Dixon, “Vision-Based Estimation and Control of an Aerial
         Vehicle through Chained Homography,” IEEE Transactions on Aerospace and Electronic
         Systems, Volume 46, Number 3, pp. 1064-1077, 2010
     20. G. Hu, N. Gans, and W. E. Dixon, “Quaternion-Based Visual Servo Control in the Presence
         of Camera Calibration Error,” International Journal of Robust and Nonlinear Control,
         Volume 20, Number 5, pp. 489-503, 2010
     21. G. Hu, N. R Gans, N. Fitz-coy, and W.E. Dixon, “Adaptive Homography-Based Visual
         Servo Tracking Control via a Quaternion Formulation,” IEEE Transactions on Control
         System Technology, Volume 18, Number 1, pp. 128-135, 2010
     22. N. Gans, W. Dixon, R. Lind and A. Kurdilla, “A Hardware in the Loop Simulation Platform
         for Vision-Based Control of Unmanned Air Vehicles,” IFAC Journal of Mechatronics
         Volume 19, Number 7, 2009, pp. 1043-1056
     23. G. Hu, W. MacKunis, N. Gans, W. E. Dixon, J. Chen, A. Behal, D. Dawson, “Homography-
         Based Visual Servo Control with Imperfect Camera Calibration,” IEEE Transactions on
         Automatic Control, Volume 54, Number 6, pp. 1318-1325, 2009
     24. N. R. Gans and S.A. Hutchinson, “Multi-Attribute Utility Analysis in the Choice of a
         Vision-Based Robot Controller,” International Journal of Optomechatronics, Volume 2,
         Number 3, pp. 326-360, 2008
     25. K. Dupree, N.R. Gans, W. MacKunis and W.E. Dixon, “Euclidean Calculation of Feature
         Points of a Rotating Satellite: A Daisy Chaining Approach,” AIAA Journal of Guidance,
         Controls, and Dynamics, Volume 31, Number 4, pp. 954-961, 2008
     26. N.R. Gans and S.A. Hutchinson, “Stable Visual Servoing through Hybrid Switched System
         Control,” IEEE Transactions on Robotics, Volume 23, No. 3, pp. 530-540, 2007
     27. N.R. Gans, P.I. Corke and S.A. Hutchinson, “Performance Tests for Visual Servo Control
         Systems, with Application to Partitioned Approaches to Visual Servo Control,”
         International Journal of Robotics Research, volume 22, No. 10, pp 955-981, 2003

     Invited Papers

     28. Y. Zhang, M. Rotea, N.R. Gans, “Sensors Looking for Interesting Things: Extremum
         Seeking Control on Entropy Maps,” Proc. IEEE Conference on Decision and Control, pp.
         4985 - 4991, 2011



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     29. D.Q. Tick, J. Shen, Y. Zhang, N.R. Gans, “Chained Fusion of Discrete and Continuous
         Epipolar Geometry with Odometry for Long-Term Localization of Mobile Robots,” Proc.
         IEEE International Symposium on Intelligent Control, pp. 668 – 674, 2011
     30. N. R. Gans, J. Shen, J. Shea, P. Barooah, W. Dixon “Balancing Mission Requirement for
         Networked Autonomous Quadrotor Performing Video Reconnaissance,” Proc. SDPS
         Transformative Systems Conference, 2010
     31. N. R. Gans, G. Hu, W. E. Dixon, “Simultaneous Stability of Image and Pose Error in Visual
         Servo Control,” Proc. IEEE International Symposium on Intelligent Control, pp. 438-443,
         2008
     32. N. R. Gans, G. Hu, W. E. Dixon, “Keeping Objects in the Field of View: An
         Underdetermined Task Function Approach to Visual Servoing,” Proc. IEEE International
         Symposium on Intelligent Control, pp. 432-437, 2008
     33. M. Kaiser, N.R. Gans and W.E. Dixon “Position and Orientation of an Aerial Vehicle
         through Chained, Vision-Based Pose Reconstruction,” Proc. AIAA conference on Guidance,
         Navigation and Control, 2006
     34. S. Mehta, K. Kaiser, N.R. Gans, W. E. Dixon, “Homography-Based Coordinate
         Relationships for Unmanned Air Vehicle Regulation,” Proc. AIAA conference on Guidance,
         Navigation and Control, 2006
     35. N.R. Gans and S.A. Hutchinson, “A Switching Approach to Visual Servo Control,” Proc.
         IEEE International Symposium on Intelligent Control, Workshop in Visual Servoing,
         Lausanne, 2002
     36. N.R. Gans and S.A. Hutchinson, “Hybrid Visual Servo Control,” Proc. IEEE/RSJ
         International Conference on Intelligent Robots and Systems, 2002, pp. 770-760

     Proceedings of Technical Meetings

     37. K. Fathian, D. Rachinskii, T. Summers, M. Spong and N. Gans, “Distributed Formation
         Control Under Arbitrarily Changing Topology”, Proc. American Controls conference, May
         2017.
     38. Y. Li, E. Doucette, J.W. Curtis and N. Gans, "Ground Target Tracking and Trajectory
         Prediction by UAV Using a Single Camera and 3D Road Geometry Recovery", ”, Proc.
         American Controls conference, May 2017
     39. S. Kumar, and N. Gans, “Extremum Seeking Control for Multi-Objective Optimization
         Problems”, Proc. IEEE Conf. Decision and Control, pp. 1112-111, December 2016
     40. K. Fathian, D. Rachinskii, T. Summers and N. Gans, “Distributed Control of Cyclic
         Formations with Local Relative Position Measurements”, Proc. IEEE Conf. Decision and
         Control, December 2016
     41. O. Ogunmolu, X. Gu, S. Jiang, and N. Gans, “Vision-Based Control of a Soft Robot for
         Maskless Head and Neck Cancer Radiotherapy,” Proc. IEEE International Conf.
         Automation Science and Engineering, August 2016
     42. J. P. Ramirez, E. Doucette, J. W. Curtis, N. Gans, “Optimal Placement for Limited-
         Support Binary Sensors,” Proc. IEEE International conference on Robotics and
         Automation, pp. 113–116, May, 2016
     43. Y. Li and N. Gans, "Predictive RANSAC: An Effective Model Fitting and Tracking
         Approach with Application to Curve Fitting in Video", Proc. American Controls
         Conference, pp. 3620-3625, July, 2016.



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     44. K. Fathian, D. I. Rachinskii, M. W. Spong, N. R. Gans, "Globally Asymptotically Stable
         Distributed Control for Distance and Bearing Based Multi-Agent Formations Proc.
         American Controls Conference, pp. 4642 - 464, July, 2016.
     45. M. J. Brown, E.-A. Lee, M. G. Grohman, N. Gans, and M. Tacca “It's Up to the
         Managers": The Deferral of Responsibility in Engineers' Discussion of Ethics,” Proc.
         Consortium for Socially Relevant Philosophy of/in Science, May 2016
     46. E.-A. Lee, M. G. Grohman, N. Gans, M. Tacca, and M. J. Brown, “A Role of Implicit
         Understanding of Engineering Ethics in Student Teams’ Discussion ”, Proc. National
         Association for Research in Science Teaching Annual Conference, April 2016.
     47. A. Iqbal, C. Busso, C. and N.R. Gans, “Adjacent Vehicle Collision Warning System using
         Image Sensor and Inertial Measurement Unit”, Proc. International Conference on
         Multimodal Interaction, pp. 291-298, nov., 2015.
     48. T. R. Bennett, N. Gans, and R. Jafari. “Multi-sensor data-driven: synchronization using
         wearable sensors,” In Proceedings of the 2015 ACM International Symposium on Wearable
         Computers, pp. 113–116, September 7-11 2015
     49. T. R. Bennett, N. Gans, and R. Jafari. “A data-driven synchronization technique for cyber-
         physical systems.” In Workshop on the Swarm at the Edge of the Cloud, April 13 2015.
     50. O. Ogunmolu, X. Gu, S. Jiang, and N. Gans, “A Real-Time, Soft Robotic Patient
         Positioning System for Maskless Head-and-Neck Cancer Radiotherapy: An Initial
         Investigation,” Proc. IEEE International Conf. Automation Science and Engineering,
         August 2015
     51. J. P. Ramirez, E. Doucette, J. W. Curtis, N. Gans, “Urban Target Search and Tracking
         Using a UAV and Unattended Ground Sensors,” Proc. American Control Conference,
         July 2015
     52. J. Jin, Y. Kim and S. Wee, and N. Gans, “Consensus based attractive vector approach for
         formation control of nonholonomic mobile robots,” Proc. IEEE International Conf. on
         Advanced Intelligent Mechatronics, July 2015
     53. E.-A. Lee, M. G. Grohman, N. Gans, M. Tacca, and M. J. Brown, “Situated and Expert-
         Guided Discussion of Engineering Ethics in Student Teams”, Proc. American Society of
         Engineering Education Annual Conference, June 2015
     54. J. Jin, Y. Kim and S. Wee, and N. Gans, “Decentralized Cooperative Mean Approach to
         Collision Avoidance for Nonholonomic Mobile Robots,” Proc. IEEE International Conf.
         on Robotics and Automation, May 2015
     55. J. Jin, Y.-G. Kim and S.-G. Wee, and N. Gans, “A Stable Switched-System Approach to
         Shared Robust Control and Obstacle Avoidance for Mobile Robots”, Proc. of the ASME
         Dynamic Systems and Control Conferences, 2014.
     56. J. Jin, and N.R. Gans, “A Stable Switched-System Approach to Obstacle Avoidance for
         Mobile Robots in SE(2),” Proc. IEEE/RSJ International Conference on Intelligent Robots
         and Systems, 2014
     57. T. R. Bennett, N. Gans, and R. Jafari, “Motion Based Acceleration Correction for
         Improved Sensor Orientation Estimates,” Proc. Body Sensors Networks Conference, 2014
     58. K. Fathian, J. Jin and N. Gans, “A New Approach for Solving the Five-Point Relative
         Pose Problem for Vision-Based estimation and Control,” Proc. American Control
         Conference 2014
     59. P. Ramirez, E. Doucette, J.W. Curtis, and N. Gans, “Moving Target Acquisition Through
         State Uncertainty Minimization,” Proc. American Control Conference 2014



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         level image features," Proc. IEEE Conference on Intelligent Transportation Systems,
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     61. S. Rodriguez, Y. Zhang, N. Gans, and N. Amato, “Optimizing aspects of pedestrian traffic
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     62. A. Satici, D. Tick, J. Shen, and N. Gans, “Path-Following Control For Mobile Robots
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         2013
     63. T. Bennett, R. Jafari, and N. Gans, “An Extended Kalman Filter to Estimate Human Gait
         Parameters and Walking Distance,” Proc. American Controls Conference, 2013
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         with Limited Field of View,” Proc. American Controls Conference, 2013
     65. J. Shen, J. Jin and N. Gans “A Multi-View Camera-Projector System for Object Detection
         and Robot-Human Feedback,” Proc. of International Conference on Robotics and
         Automation, 2013
     66. J. Shen, J. Jin and N. Gans “A Trifocal Tensor Based Camera-Projector System for Robot-
         Human Interaction” Proc. IEEE International Conference on Robotics and Biomimetics,
         2012
     67. K. Fathian, F. Hassanipour, and N. R. Gans “Virtual Thermal Sensing And Control of
         Heat Distribution Using State Estimation,” Proc. ASME International Mechanical
         Engineering Congress & Exposition, 2012
     68. D. Tick, T. Rahman, C. Busso, N. Gans, “Robotic Terrain Classification Via Angular
         Velocity Based Hierarchical Classifier Selection,” International Conference on Robotics
         and Automation, pp. 3594 – 3600, 2012
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         vision-based position measurement," Proc. American Control Conference, pp. 3173-3178,
         2012
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         Control Conference, pp. 3377 – 3382, 2012
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         measure walking distance”, Proc. Wireless Health Conference, 2011
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         Extremum Seeking Control on Saliency Maps,” Proc. IEEE/RSJ International Conference
         on Intelligent Robots and Systems, pp. 1180 – 1186, 2011
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         Optimized Kalman Filter for Gait Assessment Using Wearable Sensors” Proc. Wireless
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         Epipolar Geometry with Wheel and IMU Odometry,” Proc. American Controls Conference,
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         pp.1-5, 2010




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     76. D. Q. Tick, J. Shen, and N.R. Gans, "Fusion of Discrete and Continuous Epipolar Geometry
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         Sensors Environments, pp.1-6, 2010 (Awarded Best Student Paper)
     77. N. R. Gans, J. Shen and J. W. Curtis, "Selection Of A UAV Orbit To Keep Multiple Targets
         In The Camera Field Of View," Proc. IEEE International Symposium on Intelligent Control
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         Requirement for Networked Autonomous Rotorcrafts Performing Video Reconnaissance,”
         Proc. AIAA conference on Guidance, Navigation and Control, 2009
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         Single PTZ Camera,” Proc. American Controls Conference, pp. 5259-5264, 2009
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         Follower Formation Using Image-Based Relative Pose and Relative Velocity Estimation,”
         Proc. of the American Control Conference, pp. 5271-5276, 2009
     81. N. Gans and J.W. Curtis, “A Performance Bound for Decentralized Moving
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         Image-Based Pose and Velocity Estimation Method,” Proc. IEEE Conference on Control
         Applications, pp. 1159-1164, 2008
     84. R. Albertani, A. Chakravarthy and N. Gans, “Visual Flight Data and Frequency-Response
         Analysis Applied to Butterflies” (poster), Proc. International Symposium on Adaptive
         Motion of Animals and Machines, 2008
     85. N. R. Gans, A. Dani, W. E. Dixon, “Visual Servoing to an Arbitrary Pose with Respect to
         an Object Given a Single Known Length,” Proc. of the American Control Conference, pp.
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     86. G. Hu, W. Mackunis, N. Gans, and W. E. Dixon, “ Homography-Based Visual Servo
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     87. G. Hu, N.R. Gans, W.E. Dixon, “Quaternion-Based Visual Servo Control in the Presence
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     91. K. Dupree, N.R. Gans, W. Mackunis, W. E. Dixon, “Euclidean Calculation of Feature Points
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         pp. 3874-3879
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     94. S.S. Mehta, G. Hu, N.R. Gans, W.E. Dixon, “Vision-Based Collaborative Tracking Control
         of Unmanned Ground Vehicles,” Proc. IEEE Conference on Decision and Control, 2006,
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     95. N.R. Gans and S.A Hutchinson, “Visual Servo Velocity and Pose Control of a Wheeled
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